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                 UNITED STATES COURT OF INTERNATIONAL TRADE


                                                     Before: Hon. Mark A. Barnett,
    IN RE SECTION 301 CASES                          Hon. Claire R. Kelly, and
                                                     Hon. Jennifer Choe-Groves, Judges
                                                     Court No. 21-00052-3JP

    BRIEF OF AMICI CURIAE VERIFONE, DRONE NERDS, AND SPECIALIZED
IN SUPPORT OF PLAINTIFFS’ COMMENTS ON THE REMAND DETERMINATION

        Amici curiae VeriFone, Inc. (“Verifone”), Drone Nerds, Inc. (“Drone Nerds”), and

Specialized Bicycle Components, Inc. (“Specialized”) 1 by counsel, and under Rule 7 of the U.S.

Court of International Trade, state as follows in support of Plaintiffs’ Comments on the Remand

Determination and Plaintiffs’ request for the Court to vacate Final List 3 and Final List 4:

                                       Relevant Background

        In its Further Explanation of the Final List 3 and Final List 4 Modifications

(“Explanation”), the United States Trade Representative (“USTR”) asserts that Final Lists 3 and 4

were properly issued and claims that “the Trade Representative’s determination on each aspect of

the determination were made in consideration of the public comments and testimony, as well as

statutory considerations, including the direction of the President.” ECF 467 at 90. Verifone, Drone

Nerds, and Specialized file this brief to dispute that USTR took into consideration “public

comments and testimony.” To the contrary, USTR acted arbitrarily and capriciously by issuing

final lists solely at the behest of the President.




1Verifone, Drone Nerds, and Specialized are individual claimants in the In re Section 301 cases.
See Court No. 1:20-cv-00630 (Verifone), Court No. 1:20-cv-00919 (Drone Nerds), and Court No.
1:21-cv-00051 (Specialized).
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                                            Argument

       The Explanation demonstrates that USTR had almost no flexibility to exempt headings

meeting the criteria for removal detailed in the relevant Federal Register notices. Following a

robust notice and comment process for List 1, USTR granted a de minimis number of exemptions

for Lists 2, 3, and 4. Importantly, headings meeting the requirements for an exemption and

removed from prior lists were subsequently included on later lists. Indeed, roughly 2/3 of the

headings granted exemptions from List 3 were added to Proposed List 4—and over 90% of these

headings were included on Final List 4. USTR provides no explanation or justification for its

change in position, other than the President told it to do so. That violates the Administrative

Procedure Act (“APA”) because it is “arbitrary, capricious, an abuse of discretion, or otherwise

unlawful.” 5 U.S.C. § 706(2)(a).

I.     Complying with the demands of the President was USTR’s primary consideration in
       issuing Lists 3 and 4.

       List 1 followed an expected and ordinary process. USTR responded to comments to

Proposed List 1 and made corresponding adjustments before issuing the final list. USTR notes that

when it proposed List 1, it consisted of “1,333 eight-digit subheadings…with an approximate trade

value of $50 billion.” ECF 467 at 7. After comments, USTR trimmed the list to 818 subheadings

with an approximate trade value of $34 billion. See id. at 8. This is a reduction of approximately

39% of the headings and 32% of the trade value—which seems to be an effective application of

Section 301 and the APA’s notice and comment requirements.2



2Final List 2 is not contested here. But USTR’s review of comments appears to end with List 1.
USTR initially proposed 284 subheadings on List 2 for an additional approximate trade value of
$16 billion, which was specifically calibrated to “maintain the effectiveness of a $50 billion trade
action” as demanded by the President. ECF 467 at 8. This resulted in a Final List 2 consisting of
279 subheadings—removal of a mere 5 subheadings—and still with an approximate trade value of
$16 billion. See id.

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       Unlike List 1, USTR ignored the APA process in finalizing List 3. USTR proposed

6,031 subheadings on Proposed List 3, totaling approximately $200 billion in trade value, per the

President’s request. See id. at 9. USTR held a 6-day public hearing with “approximately 350

witnesses” and received “more than 6,000 comments.” Id. at 12. However, USTR’s Final List 3

still resulted in 5,745 subheadings “with an approximate annual trade value of $200 billion.” Id. at

13. In other words, Final List 3 has 95.2% of the original subheadings and no reduction in

approximate trade value. This is so unresponsive to the record that it shows USTR acted solely at

the President’s behest.

       USTR also ignored the APA process in finalizing List 4. For Proposed List 4, USTR

initially proposed 3,805 subheadings totaling approximately $300 billion in trade value. See id. at

16. USTR engaged in a similar comment period as List 3, holding a 7-day public hearing with

“[o]ver 300 witnesses” testifying, in addition to receiving 3,000 written comments. Id. at 17. Even

so, Final List 4 consisted of 3,782 subheadings (List 4A contained 3,243 subheadings; List 4B

contained 555 subheadings) still totaling approximately $300 billion in trade value. See id. at 18.

This is a less than a 1% reduction in subheadings and no reduction in approximate trade value.

These numbers speak for themselves.

       Even assuming arguendo that USTR can plausibly argue that it considered comments when

formulating Lists 3 and 4, USTR admits that it included on Proposed List 4 “194 of the 297 tariff

lines removed from Final List 3,” id. at 73 (emphasis original), ultimately resulting in 180 “[o]f

the 194 tariff lines removed from List 3” being on Final List 4, id. at 74. This is a classic example

of robbing Peter to pay Paul. In addition, certain subheadings removed from Proposed List 1 also

made it onto Final List 4. For example, HTS subheading 8470.50.00 (cash registers) was on

Proposed List 1, which includes point of sale terminals imported by Verifone. See 83 Fed. Reg.



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14,906, 14,933 (Apr. 6, 2018). That subheading was removed from Final List 1. See 83 Fed. Reg.

28,710, 28,710–756 (June 20, 2018). However, the same subheading appears again on Final List

4. See 84 Fed. Reg. 43,304, 43,325 (Aug. 20, 2019). There is no rational justification for USTR’s

actions other than getting to the President’s numbers.

       USTR’s assertions that it took comments into consideration before it issued Final Lists 3

and 4 are “so implausible that [they] could not be ascribed to a difference in view or the product

of agency expertise.” Motor Vehicle Mfrs. Ass’n of the United States, Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983). Instead, the explanation for this “unexplained departure from

prior agency determinations,” Leggett & Platt, Inc. v. N.L.R.B., 988 F.3d 487, 494 (D.C. Cir.

2021), is that USTR had to set a total trade value to meet the President’s demands. USTR fails to

satisfy the Supreme Court’s requirement that “an agency, in the ordinary course, should

acknowledge that it is in fact changing its position and ‘show that there are good reasons for the

new policy.’” F.C.C. v. Fox Television Stations, Inc. (“Fox II”), 567 U.S. 239, 250 (2012) (quoting

F.C.C. v. Fox Television Stations, Inc. (“Fox I”), 556 U.S. 502, 515 (2009)). USTR concedes it

had no flexibility to remove tariff headings that met the removal criteria laid out by USTR itself,

stating that “to maintain the $250 billion aggregate level of trade (that is, aggregated with the

approximately $50 billion level of Lists 1 and 2) covered by additional duties directed by the

President, only a limited number of subheadings could be removed.” Id. at 27; see also id. at 73

(“[T]he Trade Representative had limited flexibility in removing additional tariff subheadings that

would significantly decrease the overall trade value of the modification.”).

       This is directly contrary to this Court’s Order, which states that “while the President’s

direction is statutorily significant, the USTR’s invocation of the President’s direction does not

obviate the USTR’s obligation to respond to significant issues raised in the comments.” ECF 448



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at 54. Moreover, the Explanation fails to address this Court’s concerns that “the final

determinations do not explain whether or why the President’s direction constituted the only

relevant consideration nor do those determinations address the relationship between significant

issues raised in the comments and the President’s direction.” Id. at 55.

        USTR’s imposition of the tariffs under Section 301, while ordered by the President, cannot

circumvent the APA’s notice and comment process. USTR’s concession that the tariffs had to meet

certain total trade value thresholds is an admission that its actions were arbitrary and capricious by

“rel[ying] on factors which Congress has not intended it to consider.” State Farm, 463 U.S. at 43.

II.     USTR’s exclusion process does not resolve this issue because USTR’s process results
        in a negligible impact on the overall dollar value of tariffs.

        USTR’s exclusion process does not remedy the inappropriate re-inclusion of prior

exemptions. The APA requires USTR to engage in a notice and comment process for the

exclusions. The criteria USTR must consider for an exclusion is very similar to the criteria for

exemptions. For USTR to grant an exclusion, the requestor must state “[w]hether the particular

product is available only in China” or whether the “particular product…is available from sources

in the United States and/or in third countries”; “[w]hether the imposition of additional duties on

the particular product would cause severe economic harm”; and “[w]hether the particular product

is strategically important” to China. 83 Fed. Reg. 32,181, 32,182–83 (July 11, 2018); see also, 84

Fed. Reg. 29,576, 29,577 (June 24, 2019) (for List 3); 84 Fed. Reg. 57,144, 57,146 (Oct. 24, 2019)

(for List 4).

        The Explanation states that “[e]ach of the four lists were subsequently modified by granting

product-specific exclusions for products classified within a particular tariff subheading.” ECF 467

at 21; see also, id. at 74 (“[T]o address comments…that the additional duties would cause severe

economic harm…the Trade Representative determined to establish an exclusion process to allow


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interested persons to request that particular products classified with an HTS subheading be

excluded.”); id. at 14, 28, 56 n.6, 77–78 (all further discussing the exclusion process). The

government claims that it “received approximately 50,000 exclusion request[s] and approved

approximately 7,000 requests” for exclusions, spread across all four lists. See id. at 21. That does

not remedy USTR’s procedural failure, for at least two reasons.

       First, USTR fails to identify the dollar value of the exclusions either in the Federal Register

or the Explanation, likely because—like USTR’s revisions to List 3 and List 4—the approximate

dollar value is unchanged or represents a de minimis change. Second, USTR’s treatment of the

exclusions is a similar change in position in violation of the APA as discussed in Section I, supra.

For example, Specialized imports helmets from China under HTSUS 6506.10.3045. Specialized

filed for an exclusion at USTR-2019-0017-46110. On March 31, 2020, USTR excluded that

subheading from the imposition of the additional tariffs. See 85 Fed. Reg. 17,936, 17,938 (Mar.

31, 2020). When the exclusion expired, Specialized submitted an extension request, i.e., USTR-

2020-0027-56903. USTR did not grant the extension. Regardless, perhaps with the exception of

the limited pandemic-related exclusions, all exclusions expired by October 2020, see 86 Fed. Reg.

56,345, 56,346 (Oct. 8, 2021), and USTR stated it would “evaluate the possible reinstatement of

each exclusion on a case-by-case basis.” Id. Rather than accept exclusion applications from any

interested party, USTR considered reinstating exclusions only for products previously granted an

exclusion that had been extended.3 The only constant is the standard USTR allegedly considered




3Ultimately USTR reinstated 352 exclusions. ECF 467 at 21. These are set to expire on December
31, 2022. See id. (citing 87 Fed. Reg. 17,380 (Mar. 28, 2022)). USTR also extended 81 exclusions
for products related to COVID-19, and these specific exclusions are set to expire a month earlier
on November 30, 2022. See 87 Fed. Reg. 33,871 (June 3, 2022) (excluding from additional duties
certain medical-care products needed to address the COVID–19 pandemic).

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for granting exclusions, which mirrored the standard for exemptions and remained the same since

July 2018. Compare id., with 83 Fed. Reg. 32,181, 32,182–83 (July 11, 2018). But USTR has

reached different results on the same product applying the same standard—and its Explanation

never explains why.

       The exclusions—the vast majority of which have expired—do not cure the APA violations

committed during the List 3 and List 4 rulemaking process.

                                           Conclusion

       Verifone, Drone Nerds, and Specialized concur with Plaintiffs’ Comments on the Remand

Determination and, for the additional reasons contained in this brief, respectfully request that the

Court vacate USTR’s Final List 3 and Final List 4 as arbitrary and capricious in violation of

the APA.

Dated: September 14, 2022                            Respectfully submitted,

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